               Case 23-10831-MFW                 Doc 980-4      Filed 02/14/24        Page 1 of 1




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

LORDSTOWN MOTORS CORP., et al.,1                            Case No. 23-10831 (MFW)

                        Debtors.                            (Jointly Administered)


        DECLARATION OF ERIC J. MONZO REGARDING FOURTH MONTHLY
     APPLICATION OF MORRIS JAMES LLP, AS DELAWARE COUNSEL TO THE
    OFFICIAL COMMITTEE OF EQUITY SECURITY HOLDERS, FOR ALLOWANCE
    OF COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD
            FROM DECEMBER 1, 2023 THROUGH DECEMBER 31, 2023

STATE OF DELAWARE                            :
                                             :        SS
COUNTY OF NEW CASTLE                         :

         I, Eric J. Monzo, after being sworn according to law, deposes and says:

         a)       I am a partner of the firm Morris James LLP.

         b)       I have personally performed or am familiar with the services rendered by Morris

James LLP, as Delaware Counsel to the Official Committee of Equity Security Holders.

         c)       I have reviewed the foregoing Fee Application and the facts set forth therein are

true and correct to the best of my knowledge, information and belief. Moreover, I have reviewed

Local Rule 2016-2, and submit that the Fee Application complies with such Rule.

Dated: February 14, 2024                                       /s/ Eric J. Monzo
                                                               Eric J. Monzo (DE Bar No. 5214)




1
 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
27000 Hills Tech Ct., Farmington Hills, MI 48331.



16486561/1
